Filed 8/26/24 P. v. Gladney CA3
                                           NOT TO BE PUBLISHED
California Rules of Court, rule 8.1115(a), prohibits courts and parties from citing or relying on opinions not certified for
publication or ordered published, except as specified by rule 8.1115(b). This opinion has not been certified for publication
or ordered published for purposes of rule 8.1115.




                IN THE COURT OF APPEAL OF THE STATE OF CALIFORNIA
                                      THIRD APPELLATE DISTRICT
                                                     (Sacramento)
                                                            ----




 THE PEOPLE,                                                                                   C099092

                    Plaintiff and Respondent,                                    (Super. Ct. No. 18FE011455)

           v.

 DANTE DARNELL GLADNEY,

                    Defendant and Appellant.




         Defendant Dante Darnell Gladney appeals the trial court’s denial of his request for
resentencing, purportedly pursuant to Assembly No. 200 (2021-2022 Reg. Sess.)
(Assembly Bill 200) (Stats. 2022, ch. 58), section 1172.6, and “article 1172.” His
appellate counsel filed a brief raising no arguable issues under People v. Wende (1979)
25 Cal.3d 436 and asked that we exercise our discretion to review the record for arguable
issues on appeal. Finding no arguable error that would result in a disposition more
favorable to defendant, we will affirm.



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                                    I. BACKGROUND
       In 2019, a jury found defendant guilty of two counts of robbery (Pen. Code,
§ 211)1 with deadly weapon use enhancements (§ 12022, subd. (b)(1)) and one count of
first degree burglary (§ 459) while someone was in the residence (§ 667.5, subd. (c)(21)).
The jury also found true that defendant had a prior serious felony. (§ 667, subd. (a).)
The trial court sentenced defendant to state prison for an aggregate term of 17 years.
This court affirmed the judgment on appeal. (People v. Gladney (Feb. 26, 2021,
C091030) [nonpub. opn.].)
       In March 2023, defendant asked the trial court to resentence him and strike the
deadly weapon and serious felony enhancements pursuant to Assembly Bill 200, section
1172.6, and “article 1172.”
       In May 2023, defendant petitioned for recall and resentencing under Senate
Bill No. 81 (2021-2022 Reg. Sess.) (Stats. 2021, ch. 721).
       In July 2023, the trial court issued a written order denying defendant’s March
2023 resentencing request. The court reasoned it did not have jurisdiction to consider
post-convictions motions or hold post-conviction evidentiary hearings. The court further
noted that Assembly Bill 200 did not give a court jurisdiction to strike defendant’s
enhancements. In addition, defendant was not entitled to potential relief under section
1172.6, because he was not convicted of murder, attempted murder, or manslaughter.
       Defendant timely appealed.
                                    II. DISCUSSION
       Appointed counsel filed an opening brief setting forth the facts of the case and
asking this court to review the record and determine whether there are any arguable
issues on appeal. (People v. Wende, supra, 25 Cal.3d 436.) Defendant was advised by




1 Undesignated statutory references are to the Penal Code.



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counsel of the right to file a supplemental brief within 30 days of the date of filing the
opening brief. More than 30 days have elapsed, and we have received no communication
from defendant.
       In appeals from denial of post-conviction relief, as here, the appellate court may
conduct independent Wende review in its discretion. (People v. Delgadillo (2022)
14 Cal.5th 216, 226, 230-232.) We will conduct such a review here because appointed
counsel failed to mention Delgadillo to defendant, making it possible defendant could
have concluded that this court would conduct an independent review of the record, even
absent a supplemental brief. (See id. at p. 233.)
       Having undertaken an examination of the entire record, we find no arguable error
that would result in a disposition more favorable to defendant.
                                    III. DISPOSITION
       The trial court’s order denying defendant’s resentencing request is affirmed.


                                                             /S/

                                                    RENNER, J.



       We concur:


       /S/

       MAURO, Acting P. J.


       /S/

       FEINBERG, J.




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